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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DISTRICT OF COLUMBIA

ROY STEWART MOORE and                          )
KAYLA MOORE,                                   )
                                               )
           Plaintiffs,                         )
                                               )
v.                                             )   Case No. 1:18-cv-02082
                                               )
SACHA NOAM BARON COHEN,                        )
SHOWTIME NETWORKS, INC., and                   )
CBS CORPORATION,                               )
                                               )
           Defendants.                         )


                CONSENT MOTION FOR EXTENSION OF TIME
     FOR DEFENDANTS TO ANSWER OR OTHERWISE RESPOND TO COMPLAINT

       Defendants Sacha Noam Baron Cohen (“Mr. Cohen”), Showtime Networks Inc.

(“Showtime”), and CBS Corporation (“CBS”) (collectively “Defendants”), by their undersigned

counsel, respectfully move this Court for an extension of time for all Defendants to answer or

otherwise respond to the Complaint filed by Plaintiffs Roy Stewart Moore and Kayla Moore

(collectively, “Plaintiffs”) to and including November 8, 2018.      Defendants’ counsel has

conferred with Plaintiffs’ counsel pursuant to Local Rule 7(m), and Plaintiffs’ counsel has

consented to this request.

       Plaintiffs served the Summons and Complaint in this case on Showtime and CBS,

respectively, on September 18, 2018. Under the Federal Rules of Civil Procedure, the date for

Showtime and CBS to answer or otherwise respond to the Complaint is October 9, 2018. Mr.

Cohen has not yet been served. Counsel for Defendants has agreed to accept service of the

Complaint on Mr. Cohen’s behalf, with the deadline to answer or otherwise respond to the

Complaint for all Defendants extended by thirty (30) days to November 8, 2018.




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       This is Defendants’ first request for an enlargement of time. There are no other deadlines

in this case that will be affected by this extension.

       WHEREFORE, Defendants respectfully request that the Court grant their motion, and

that the deadline for Defendants to answer or otherwise respond to the Complaint be extended to

and including November 8, 2018.

       DATED: September 28, 2018

                                               Respectfully submitted,

                                                       /s/ Eric Feder
                                               Eric J. Feder (D.C. Bar No. 996955)

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                                               Cohen, Showtime Networks Inc., and CBS
                                               Corporation




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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DISTRICT OF COLUMBIA

ROY STEWART MOORE and                         )
KAYLA MOORE,                                  )
                                              )
          Plaintiffs,                         )
                                              )
v.                                            )    Case No. 1:18-cv-02082
                                              )
SACHA NOAM BARON COHEN,                       )
SHOWTIME NETWORKS, INC., and                  )
CBS CORPORATION,                              )
                                              )
          Defendants.                         )


                                    PROPOSED ORDER

       Upon consideration of the Consent Motion for Extension of Time to Answer or

Otherwise Respond to the Complaint filed herewith by Defendants Sacha Noam Baron Cohen,

Showtime Networks Inc., and CBS Corporation (“Defendants”), it is

       ORDERED that Defendants’ motion is granted, and that the deadline for all Defendants

to answer or otherwise respond to the Complaint is extended to November 8, 2018.

       Dated this ___ day of ____________, 2018.



                                           Hon. Thomas F. Hogan
                                           United States District Judge
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                               CERTIFICATE OF SERVICE

       This is to certify that I have this 28th day of September, 2018, electronically filed the

foregoing Consent Motion for Extension of Time to Answer or Otherwise Respond to the

Complaint using the CM/ECF system and served upon counsel of record by electronic filing.


                                                   /s/ Eric Feder
                                               Eric Feder
